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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 DEON HAMPTON,

                      Plaintiff,

 v.                                                     Case No. 18-cv-550-NJR

 JOHN BALDWIN, et al.,

                      Defendants.

                           JUDGMENT IN A CIVIL ACTION

ROSENSTENGEL, Chief Judge:

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order of May 15, 2019

(Doc. 119), Defendants Karen Jaimet, Jeremy Givens, Michael Clark, and Nicholas Lanpley were

DISMISSED without prejudice.

       IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Court’s Order of

April 16, 2020 (Doc. 137) and the Second Amended Complaint (Doc. 138), Defendants John

Baldwin and John Doe #’s 1-4 were DISMISSED without prejudice.

       IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Court’s Order of

January 24, 2022 (Doc. 204) reflecting settlement between the remaining parties, this entire action

is DISMISSED with prejudice with each party to bear its own costs and fees.

       DATED: June 29, 2022

                                                     MONICA A. STUMP
                                                     CLERK OF COURT

                                                     By: s/ Tanya Kelley
                                                            Deputy Clerk


APPROVED: _____________________________
           NANCY J. ROSENSTENGEL
           Chief U.S. District Judge
